PROB 35                                                                        Report and Order Terminating Supervision
(Reg 3/93)                                                                              Prior to Original Expiration Date



                               UNITED STATES DISTRICT COURT
                                           FOR THE
                             EASTERN DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA

                      v.                                      Crim. No. 5:18-CR-380-lD

SHMECA MELVIN

        On August 9, 2018, the above named was released from prison and commenced a term of supervised
release for a period of 72 months. The offender has complied with the rules and regulations of supervised
release arid is no longer in need of supervision. It is accordingly recommended that the offender be
discharged from supervision.

                                                      I declare under penalty of perjury that the foregoing
                                                      is true and correct.


                                                      Isl Timothy L. Gupton
                                                      Timothy L. Gupton
                                                      Senior U.S. Probation Officer
                                                      310 New Bern Avenue, Room 610
                                                      Raleigh, NC 27601-1441
                                                      Phone:919-861-8686
                                                      Executed On: December 2, 2021


                                           ORDER OF COURT

       Pursuant to the above report, it is ordered that the offender be discharged from supervision and that
the proceedings in the case be terminated.

             Dated this -~1._ _ day of   ~.e CJ) ,uh.a.A       , 2021.




                                                              ames C. Dever III
                                                             U.S. District Judge




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